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                    UNITED STATES BANKRUPTCY COURT
                   WESTERN DISTRICT OF NORTH CAROLINA
                            SHELBY DIVISION

In re:                                    )
                                          ) Case No.:     25-40054
MICHAEL JUSTIN SCOTT,                     )
                                          ) Chapter 7
                 Debtor.                  )

                              MOTION TO DISMISS

      The Office of the Bankruptcy Administrator for the Western District of North
Carolina hereby moves the court for an order dismissing this proceeding and says:

       1.    This is a Chapter 7 proceeding in which a pro se voluntary petition was
filed on March 10, 2025.

      2.    On March 19, 2025, the Debtor filed a credit counseling certificate that
shows the Debtor completed the credit counseling course on March 18, 2025 [ECF No.
10].

       3.     The undersigned moves to dismiss this proceeding based on the Debtor’s
failure to comply with the provisions of 11 U.S.C. §109(h) in that the Debtor has not
provided evidence that the Debtor obtained the necessary credit counseling during
the 180-day period preceding the date of filing of the petition. In re Baxter, 2006
Bankr. LEXIS 4541, *7-8 (Bankr. W.D.N.C. May 17, 2006).

       Wherefore, the undersigned moves the Court to dismiss this case and for such
other and further relief as the Court deems just and proper.

         Dated: March 21, 2025.

                                       /s/ Heather W. Culp
                                       Heather W. Culp
                                       Staff Attorney for the Office of U.S.
                                           Bankruptcy Administrator
                                       N.C. Bar No. 30386
                                       401 W. Trade Street, Suite 2400
                                       Charlotte, NC 28202
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                            CERTIFICATE OF SERVICE

       The undersigned certifies that the pleading(s) or paper(s) to which this
Certificate is affixed was served upon the party(s) to this action listed below by
depositing a copy of the same, enclosed in a first-class postpaid, properly addressed
wrapper, in a Post Office or official depository under the exclusive care and custody
of the United States Postal Service and/or by means of the Electronic Filing System
of the Bankruptcy Court on March 21, 2025.

 Michael Justin Scott                      Jimmy R. Summerlin, Jr, Chapter 7
 3008 Spinner Ct                           Trustee (via ECF)
 Denver, NC 28037


                                       /s/ Heather W. Culp
                                       Heather W. Culp
                                       Staff Attorney for the Office of U.S.
                                           Bankruptcy Administrator
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